                  UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Renee Ann Rusnock

                                                           Case No.: 5-20-00500 MJC

                                                           Chapter 13
                     Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Quicken
 Court Claim Number:             11
 Last Four of Loan Number:       1055
 Property Address if applicable: 118 Saint Angela Dr

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                    $1,779.29
 b.      Prepetition arrearages paid by the trustee:                        $1,779.29
 c.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                   $5,094.23
 f.       Postpetition arrearage paid by the trustee:                       $5,094.23
 g.       Total b, d, and f:                                                $6,873.52

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
 counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: April 29, 2025
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Renee Ann Rusnock

                                                           Case No.: 5-20-00500 MJC

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on April 29, 2025 I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Jason Provinzano, Esquire
 Law Offices of Jason Provinzano LLC
 16 W Northampton St.
 Wilkes-Barre
 PA 18701-1708

 Served by First Class Mail
 Quicken Loans, Inc
 635 Woodward Ave
 Detroit MI 48226

 Renee Ann Rusnock
 118 Saint Angela Dr
 Hazleton PA 18202


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: April 29, 2025                                  /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




Case 5:20-bk-00500-MJC          Doc 61     Filed 04/29/25      Entered 04/29/25 06:46:40     Desc
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                                                  Disbursements for Claim
Case: 20-00500             RENEE ANN RUSNOCK
          QUICKEN LOANS INC
                                                                                        Sequence: 24
          635 WOODWARD AVENUE
                                                                                           Modify:
                                                                                       Filed Date:
          DETROIT, MI 48226-
                                                                                       Hold Code:
 Acct No: postarrears st angela dr #1055
          02/22 AMENDED PER STIP POST ARREARS


                                                    Debt:           $5,094.23       Interest Paid:              $0.00
        Amt Sched:                     $0.00                                          Accrued Int:               $0.00
         Amt Due:          $0.00                     Paid:          $5,094.23        Balance Due:                $0.00

Claim name                                 Type      Date           Check #      Principal    Interest       Total Reconciled
                                                                                                   DisbDescrp
 5210        QUICKEN LOANS INC
521-0 QUICKEN LOANS INC                            04/18/2023       2024155       $196.60       $0.00     $196.60 04/26/2023


521-0 QUICKEN LOANS INC                            03/15/2023       2023120       $546.48       $0.00     $546.48 03/27/2023


521-0 QUICKEN LOANS INC                            02/15/2023       2022123       $819.72       $0.00     $819.72 02/28/2023


521-0 QUICKEN LOANS INC                            01/18/2023       2021119       $546.48       $0.00     $546.48 02/02/2023


521-0 QUICKEN LOANS INC                            12/13/2022       2020128       $819.72       $0.00     $819.72 12/27/2022


521-0 QUICKEN LOANS INC                            11/16/2022       2019167       $273.24       $0.00     $273.24 12/15/2022


521-0 QUICKEN LOANS INC                            10/18/2022       2018143       $576.46       $0.00     $576.46 10/27/2022


521-0 QUICKEN LOANS INC                            09/13/2022       2017069       $576.46       $0.00     $576.46 09/23/2022


521-0 QUICKEN LOANS INC                            08/17/2022       2016064       $739.07       $0.00     $739.07 08/26/2022


                                                                 Sub-totals: $5,094.23          $0.00   $5,094.23

                                                                Grand Total: $5,094.23          $0.00




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                                                Disbursements for Claim
Case: 20-00500            RENEE ANN RUSNOCK
          QUICKEN LOANS INC
                                                                                      Sequence: 24
          635 WOODWARD AVENUE
                                                                                         Modify:
                                                                                     Filed Date:
          DETROIT, MI 48226-
                                                                                     Hold Code:
 Acct No: Saint Angela Dr - PRE-ARREARS - 1055
          ARREARS - 118 SAINT ANGELA DRIVE


                                                  Debt:           $1,779.29       Interest Paid:              $0.00
        Amt Sched:                $197,923.00                                       Accrued Int:               $0.00
         Amt Due:         $0.00                    Paid:          $1,779.29        Balance Due:                $0.00

Claim name                               Type      Date           Check #      Principal    Interest       Total Reconciled
                                                                                                 DisbDescrp
 5200        QUICKEN LOANS INC
520-0 QUICKEN LOANS INC                          08/12/2020       1220731 $1,779.29           $0.00   $1,779.29 08/24/2020


                                                               Sub-totals: $1,779.29          $0.00   $1,779.29

                                                              Grand Total: $1,779.29          $0.00




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